
USCA1 Opinion

	










        May 30, 1995            [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

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        No. 95-1024 

                                 JERRY WILLIAM WEBER,

                                Plaintiff, Appellant,

                                          v.

                                   MARIE WEFERLING,

                                 Defendant, Appellee.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
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                                        Before

                                Torruella, Chief Judge,
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                          Selya and Boudin, Circuit Judges.
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            Jerry William Weber on brief pro se.
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            Valerie   Stanfill  and  Berman  &amp;  Simmons,  P.A.  on  brief  for
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        appellee.


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                      Per  Curiam.   Plaintiff  contends  that deliberate
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            indifference is established by his uncontradicted allegations

            that  (1)  he  advised   defendant  a  Minnesota  doctor  had

            successfully  prescribed  Triamcinolone for  plaintiff's skin

            condition after  hydrocortisone had worsened the problem, (2)

            he  urged defendant to review the  Minnesota records, (3) but

            defendant refused to check  the record and instead prescribed

            hydrocortisone,  which,  once again,  exacerbated plaintiff's

            skin condition.  

                      We  agree with  the  magistrate judge  and district

            court that  plaintiff failed  to raise any  genuine issue  of

            material   fact  for   trial.     Defendant's  uncontradicted

            affidavit stated that  both Triamcinolone and  hydrocortisone

            are used to treat skin  conditions like plaintiff's, but that

            Triamcinolone,  while  stronger,  has  more   risk  for  side

            effects.  Because defendant, a physician's assistant, did not

            feel  comfortable  prescribing  Triamcinolone,   she  advised

            plaintiff  to see a doctor.  Plaintiff eventually did see the

            doctor,  who  prescribed   Triamcinolone,  which   alleviated

            plaintiff's problem.   Plaintiff acknowledged below  that his

            skin  problems would come and  go and that  defendant was not

            responsible   for   the  delay   in  scheduling   a  doctor's

            appointment.     Rather,  plaintiff's   contention  was  that

            defendant's   refusal  to   heed  plaintiff's   warning  that

            hydrocortisone had exacerbated  a past flare  up or to  check



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            the medical record and ascertain that a doctor had previously

            prescribed  Triamcinolone successfully  manifested deliberate

            indifference to plaintiff's medical needs.  

                      We  disagree.  Neither defendant's failure to check

            plaintiff's  record   before  treating  his  eczema  nor  her

            knowledge  that  hydrocortisone  had  failed  on  a  previous

            occasion  shows deliberate indifference to plaintiff's needs.

            At best, there was a disagreement among medical professionals

            as to the course of treatment.  Such  a disagreement does not

            rise  to the level of a constitutional violation.  See Watson
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            v. Caton, 984 F.2d 537, 540 (1st Cir. 1993); Sires v. Berman,
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            834  F.2d 9,  13  (1st Cir.  1987).   Defendant  did not  bar

            plaintiff from a  remedy which  had worked in  the past;  she

            told him to consult the prison  doctor.  The referral was not

            a  refusal to treat plaintiff,  but rather a  further step in

            the management  of plaintiff's problem.   That several months

            elapsed  before plaintiff  actually  saw the  doctor was  not

            defendant's fault, as plaintiff acknowledged below.

                      Affirmed.
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